ATTORNEY GENERAL LOVING HAS ASKED ME TO RESPOND TO YOUR RECENT REQUEST FOR AN ATTORNEY GENERAL OPINION REGARDING WHETHER AN ELEMENTARY SCHOOL DISTRICT MUST SEEK APPROVAL FROM THE STATE BOARD OF EDUCATION BEFORE BEGINNING THE TRANSITION TO AN INDEPENDENT SCHOOL DISTRICT. BECAUSE YOUR QUESTION MAY BE ANSWERED BY REFERENCE TO CONTROLLING STATUTES, THIS OFFICE HAS DETERMINED YOUR REQUEST SHOULD BE ANSWERED THROUGH THIS INFORMAL LETTER. THEREFORE, THE DISCUSSION WHICH FOLLOWS IS NOT AN OFFICIAL OPINION OF THE ATTORNEY GENERAL. RATHER, THE FOLLOWING ANALYSIS AND CONCLUSIONS, WHILE SOLELY MY OWN, HAVE BEEN REACHED AFTER CAREFUL RESEARCH OF THE QUESTION YOU HAVE RAISED.
IN YOUR LETTER YOU ASKED, IN EFFECT, THE FOLLOWING QUESTION:
  "DOES AN ELEMENTARY SCHOOL DISTRICT (K-8) NEED APPROVAL FROM THE STATE BOARD OF EDUCATION BEFORE BEGINNING THE TRANSITION PROCESS TO AN INDEPENDENT SCHOOL DISTRICT (K-12)?"
TO DETERMINE THE ANSWER TO YOUR QUESTION IT IS IMPORTANT TO EXAMINE A NUMBER OF STATUTES AND RULES. TITLE 70 O.S. 5-102 (1991) DEFINES INDEPENDENT SCHOOL DISTRICTS AS THOSE DISTRICTS
(W)HICH HAVE MAINTAINED DURING THE PREVIOUS YEAR A SCHOOL OFFERING HIGH SCHOOL SUBJECTS FULLY ACCREDITED BY THE STATE BOARD OF EDUCATION."
TO ATTAIN INDEPENDENT STATUS
"(H)IGHSCHOOLS SHALL BE INSPECTED BY A MEMBER OF THE DIVISION OF SECONDARY EDUCATION OF THE STATE BOARD OF EDUCATION OR SUCH OTHER REPRESENTATIVE AS THE STATE BOARD OF EDUCATION SHALL DESIGNATE, AND ALL OF THE STANDARDS PRESCRIBED BY THE STATE BOARD OF EDUCATION SHALL BE CAREFULLY CHECKED IN THE PRESENCE OF THE DISTRICT SUPERINTENDENT OF SCHOOLS OR BOARD OF EDUCATION OF THE DISTRICT."
THE REQUIREMENTS FOR WHAT CONSTITUTES A HIGH SCHOOL ARE FOUND IN THE OKLAHOMA ADMINISTRATIVE CODE 210:35-9-21. THE RULE PROVIDES:
  "A HIGH SCHOOL MAY BE A 2, 3, OR 4 YEAR SCHOOL THAT INCLUDES AT LEAST 2 CONSECUTIVE GRADES BETWEEN 9 AND 12 IN ITS ORGANIZATION."
BEFORE BECOMING AN INDEPENDENT DISTRICT THE SCHOOL MUST BE INSPECTED BY THE STATE BOARD OF EDUCATION TO DETERMINE IF THE SCHOOL MEETS STATE REQUIREMENTS. HOWEVER, NEITHER THE STATUTES NOR THE RULES DISCUSS ANY REQUIREMENT FOR A SCHOOL DISTRICT MOVING TOWARD INDEPENDENT STATUS TO NOTIFY OR ASK PERMISSION FROM THE STATE BOARD OF EDUCATION.
TITLE 70 O.S. 5-117(A)(3) (1993) STATES THAT THE BOARD OF EDUCATION FOR EACH SCHOOL DISTRICT SHALL HAVE POWER TO:
  "MAINTAIN AND OPERATE A COMPLETE PUBLIC SCHOOL SYSTEM OF SUCH CHARACTER AS THE BOARD OF EDUCATION SHALL DEEM BEST SUITED TO THE NEEDS OF THE SCHOOL DISTRICT(.)"
IT APPEARS THAT THE STATUTE ALLOWS THE LOCAL BOARD OF EDUCATION THE DISCRETION TO OPERATE A SCHOOL SYSTEM OF SUCH CHARACTER AS THE BOARD DEEMS BEST FOR THE DISTRICT'S NEEDS.
IT IS, THEREFORE, THE OPINION OF THE UNDERSIGNED ATTORNEY THAT, WHILE AN ELEMENTARY DISTRICT MOVING TOWARD INDEPENDENT STATUS MUST ULTIMATELY MEET THE STATE BOARD OF EDUCATION STANDARDS FOR HIGH SCHOOLS, LOCAL DISTRICTS ARE NOT REQUIRED TO SEEK STATE BOARD OF EDUCATION APPROVAL BEFORE BEGINNING THE TRANSITION PROCESS TO AN INDEPENDENT DISTRICT.
(L. MICHELLE STEPHENS)